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                                                                     IN THE UNITED STATES DISTRICT COURT

                                                                            FOR THE DISTRICT OF ALASKA


                                             ALASKA RAILROAD CORPORATION,

                                                                               Plaintiff,

                                                    v.

                                             FLYING CROWN SUBDIVISION
                                             ADDITION NO. 1 AND ADDITION NO.
                                             2 PROPERTY OWNERS ASSOCIATION,
                                             A NON-PROFIT; and also all other
                                             Persons or Parties Unknown Claiming a
                                             Right, Title, Estate, Lien, or Interest in the
                                             Real Estate Described in the Complaint in
                                             this Action,

                                                                            Defendant.                Case No. 3:20-cv-00232-JMK


                                                  ALASKA RAILROAD CORPORATION’S OPPOSITION TO
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                                                ENSTAR NATURAL GAS GOMPANY AND ALASKA PIPELINE
       Anchorage, Alaska 99503-3985




                                                 COMPANY’S MOTION TO INTERVENE AS DEFENDANTS

                                                    ENSTAR Natural Gas Company and Alaska Pipeline Company (collectively

                                             “ENSTAR”) have filed a motion to intervene in this matter, or in the alternative, to

                                             participate as amicus curiae. (Dkt. No. 25). For the reasons expressed below, ENSTAR has

                                             not met the standards for intervention, either as a matter of right or permissively, and ARRC


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                                             therefore requests that the Court DENY ENSTAR’s request to intervene. ARRC does not

                                             oppose ENSTAR participating in this matter as amicus curiae.

                                             I.     ENSTAR is Not Entitled to Intervene as a Matter of Right
                                                    ARRC largely concurs in ENSTAR’s statement of the applicable Ninth Circuit test

                                             for intervention as a matter of right under Rule 24. An applicant for intervention as of right

                                             must demonstrate that: (1) its motion is timely; (2) it has a “significant protectable interest”

                                             relating to the property or transaction which is the subject of the action; (3) disposition of

                                             the action may, as a practical matter, impair or impede its ability to protect that interest; and

                                             (4) its interest is not adequately represented by existing parties to the action. See Donnelly

                                             v. Glickman, 159 F.3d 405, 409 (9th Cir. 1998); Smith v. Marsh, 194 F.3d 1045, 1049 (9th

                                             Cir. 1999). While ENSTAR’s motion is timely, it has not shown a significant protectable

                                             interest in the property at issue, and has not shown any inadequacy in FCHA’s representation

                                             of the issues which it claims an interest in.

                                                    A.       ENSTAR has shown no significant protectable interest in the ROW
                                                    The Ninth Circuit applies a two-part test to determine whether an applicant has a

                                             significant protectable interest in a case sufficient to support intervention. First, the applicant
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                                             must show that it asserts an interest that is protected under some law. Donnelly, 159 F.3d at
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                                             409. Second, it must show a relationship between its legally protected interest and the

                                             plaintiff’s claims. Id. (internal citation omitted).

                                                    ENSTAR claims no legal interest in the right-of-way at issue here, which pertains

                                             solely to FCHA. (See Dkt. No. 25, p. 10). Nevertheless, it asserts two other interests, which


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                                             it argues justify intervention. First, ENSTAR asserts that it has an interest in “running its gas

                                             lines without paying the Railroad” for access to the right-of-way. (Dkt. No. 25, p. 10). 1

                                             Second, ENSTAR asserts an interest in restitution from ARRC for rent payments it has

                                             already made. Id.




                                             1
                                                The Declaration from ENSTAR’s President neglects to provide some important
                                             background and context. ENSTAR (and specifically Alaska Pipeline Company) and its
                                             predecessors-in-interest have been operating their facilities within the Alaska Railroad’s
                                             ROW since April 1, 1976, initially pursuant to a Permit and Construction Agreement with
                                             the federal railroad. That initial agreement, with a 20-year term, was non-exclusive, and the
                                             federal railroad expressly reserved “the right to grant to others, permits to use and occupy
                                             the permit area” provided that it did not, “in the opinion of the Railroad,” unreasonably
                                             interfere with ENSTAR’s use. “Railroad Property” was defined within the agreement as “all
                                             lands owned or withdrawn for the use of the Railroad, in and including the railroad’s track
                                             right-of-way...” The agreement was amended and/or supplemented on several occasions,
                                             primarily to account for changes to ENSTAR’s footprint within the permitted area, as well
                                             as rent adjustments. There is a Supplement dated March 1, 1988 which provides that
                                             “effective January 6, 1985, ALASKA RAILROAD CORPORATION, a wholly-owned
                                             corporation of the State of Alaska (“ARRC”) became the successor in interest to the
                                             federally owned Alaska Railroad.” It is also true that on or about September 21, 1999,
                                             ENSTAR entered into a Transportation Corridor Permit, Contract No. 7615 (“Permit”) with
                                             ARRC which picked up when the original 1976 permit expired by its terms. Now, as 2020
                                             closes, and almost 45 years after entering into its agreement with the federal Railroad and
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                                             then ARRC to operate its facilities on railroad property, ENSTAR complains that apparently
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                                             neither the federal government nor ARRC had the right to permit ENSTAR’s uses, and to
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                                             charge rent for that privilege. Instead, ENSTAR’s President highlights the last rent increase
                                             which went into effect in 2016. However, he neglects to mention that the rent was set
                                             pursuant to an appraisal process described in the Permit, including detailed provisions for
                                             appealing that appraisal to an arbitration panel possessing the required professional
                                             qualifications, including experience appraising “similar transportation corridors.” ARRC
                                             submits that ENSTAR’s purported objection to ARRC’s exclusive use of the easement it
                                             received pursuant to ARTA is a fig leaf for its complaint about the rent that is currently
                                             required under its Permit. This simply reinforces ARRC’s view that ENSTAR does not meet
                                             the requirements for intervention.
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                                                       ENSTAR fails to offer any legal basis for these asserted rights. Outside of its ongoing

                                             permit agreement with ARRC, ENSTAR has no legal right to access the ROW, and thus has

                                             no significant protectable interest in the dispute here. Likewise, ENSTAR has no standing

                                             to challenge ARRC’s title to the ROW, and thus has no protectable interest supporting its

                                             claim for restitution.

                                                       In Alaska, a lessee is generally estopped from challenging its landlord’s title. 2 AAA

                                             Valley Gravel, Inc. v. Totaro, 219 P.3d 153, 169 n.7 (Alaska 2009), as amended (Jan. 19,

                                             2010) (in a case involving the lease of gravel mining rights, recognizing the “general rule

                                             that a tenant is estopped from challenging his landlord’s title. . . even if he himself purchases

                                             a title to the property that is superior to his landlord’s title.”) (citing 49 Am.Jur.2d

                                             Landlord and Tenant § 768 (2006)). Other states, including Texas, follow this rule. See Air-

                                             Ag, Inc. v. F & H Santa Fe Rail, Inc., 22 S.W.3d 596, 597 (Tex. App. 2000) (“[W]e reaffirm

                                             the long-standing rule . . . that a tenant may not challenge its landlord’s title.”)

                                                       Air-Ag, Inc. is especially pertinent here as an application of the rule stated in AAA

                                             Valley Gravel, Inc. In that case, three lessees of F&H Santa Fe Rail, Inc. (“F&H”) sought to

                                             challenge F&H’s right to possess several tracts within its right-of-way, which the plaintiffs
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                                             leased from the company. Air-Ag, Inc., 22 S.W.3d at 598-600. The plaintiffs argued that


                                             2
                                               This rule, that a lessee is estopped from challenging its lessor’s title, applies with equal
                                             force to ENSTAR as a permit holder. See 53 C.J.S. Licenses § 149 (“[a] licensee is estopped
                                             during the time the license exists to deny the title of the licensor or of anyone claiming under
                                             the licensor.”) (citing cases); see also N. Alaska Envtl. Ctr. v. State, Dep’t of Nat. Res., 2
                                             P.3d 629, 635 n. 23 (Alaska 2000) (discussing land permit holders as licensees: “[a] permit
                                             to use land revocable at the will of the grantor is generally considered a license.”)
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                                             F&H never owned the tracts of land in fee simple because the right-of-way reverted back to

                                             the adjoining landowners upon abandonment of the railroad, and thus F&H had no basis to

                                             exclude them from the ROW. Id. at 600. The court, however, declined to hear their

                                             argument, finding that the lessees had no standing to make such claim. Specifically, it held

                                             that: “the adjoining landowners, who under this argument would claim title, are not parties

                                             to this suit. Appellants, as mere tenants of the tracts, have no justiciable interest in asserting

                                             title in absent third parties; thus, this court has no jurisdiction to consider this argument.” Id.

                                                       In this case, ENSTAR denies any interest in the ROW adjoining FCHA. 3

                                             Nevertheless, it seeks, as a permittee, to contest ARRC’s title to the ROW. Looking to AAA

                                             Valley Gravel, Inc. and Air-Ag, Inc., however, it has no standing to do so – and thus has no

                                             protectable interest supporting its claim.

                                                       Finally, while ENSTAR may stand to benefit economically from a ruling favorable

                                             to FCHA, an economic stake in litigation – even if significant – is not enough to establish a

                                             significant protectable interest supporting intervention. Silver v. Babbitt, 166 F.R.D. 418,

                                             425 (D. Ariz. 1994), aff’d, 68 F.3d 481 (9th Cir. 1995); Greene v. United States, 996 F.2d

                                             973, 976 (9th Cir.1993).
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                                                       B.       ENSTAR’s interests are adequately represented by FCHA
                                                       Even if an applicant for intervention has shown that it has a significant protectable

                                             interest which may be impaired in the action, which ENSTAR has not, there is no right to


                                             3
                                              See Dkt. No. 25, p. 10 (“. . . ENSTAR has no claim to the specific parcel that is the
                                             subject of the Railroad’s quiet title action against Flying Crown.”)

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                                             intervene    if   “the    applicant’s     interest    is   adequately      represented     by      existing

                                             parties.” Fed.R.Civ.P. 24(a)(2). The most important factor in determining the adequacy of

                                             representation is how the interest of the proposed intervenor compares with the interests of

                                             existing parties. Prete v. Bradbury, 438 F.3d 949, 956 (9th Cir. 2006) (internal citation

                                             omitted). When an applicant for intervention and an existing party have the same ultimate

                                             objective in an action, a presumption of adequacy of representation arises. Id.

                                                    For instance, in League of United Latin Am. Citizens v. Wilson, the plaintiff brought

                                             a lawsuit challenging a California ballot proposition, which had been enacted into law. 131

                                             F.3d 1297 (9th Cir. 1997). A public interest group brought a motion to intervene as of right,

                                             claiming it participated in the drafting and sponsorship of the proposition and desired to

                                             intervene in support of its defense. Id. at 1301. The district court denied the motion, which

                                             the Ninth Circuit affirmed. The court held that the existing defendant (the State of California)

                                             and the public interest group sought the same ultimate objective—i.e., to defend the

                                             constitutionality of the proposition—and thus a presumption of adequacy of representation

                                             arose. Id. at 1305.

                                                    ENSTAR asserts that its interests are not protected by FCHA because FCHA is not a
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                                             public utility, and it uses ARRC’s ROW in a different manner than ENSTAR. (Dkt. No. 25,

                                             p. 11). However, as in League of United Latin Am. Citizens, distinguishable organizations

                                             (in that case a private organization and a public entity) may nevertheless share the same

                                             ultimate objective in a suit. In this case, ENSTAR and FCHA share the same ultimate

                                             objective in the issue presently before the court – whether the federal government validly

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                                             conveyed an exclusive use easement to ARRC. As such, a presumption of adequacy in

                                             FCHA’s representation should arise. ENSTAR has not shown any deficiencies in FCHA’s

                                             representation or offered any arguments on this issue that FCHA would be unlikely to raise.

                                             See Arakaki v. Cayetano, 324 F.3d 1078, 1086 (9th Cir. 2003), as amended (May 13, 2003)

                                             (discussing the applicant’s burden to show inadequate representation by existing parties, and

                                             noting that if the applicant has an identical interest to one of the present parties, a

                                             “compelling showing” of inadequate representation is required.)

                                                     ENSTAR also asserts that FCHA cannot represent its interests regarding its claim for

                                             restitution against ARRC. While true in a limited sense (neither FCHA nor ENSTAR have

                                             a valid claim for restitution here) this issue is not – and should not be brought – before the

                                             Court in this action, and thus cannot support ENSTAR’s application to intervene.

                                             II.     ENSTAR Should Also Be Denied Permissive Intervention

                                                     As shown above, ENSTAR does not have the right to intervene in this action. As

                                             shown below, ENSTAR also should be denied permissive intervention. An applicant seeking

                                             permissive intervention must prove that it meets three threshold requirements: (1) it has a

                                             claim or defense that shares a common question of law or fact with the main action; (2) its
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                                             motion is timely; and (3) the court has an independent basis for jurisdiction over the
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                                             applicant’s claims. Fed. R. Civ. P. 24(b)(1)(B); Donnelly v. Glickman, 159 F.3d 405, 412

                                             (9th Cir. 1998).

                                                     ENSTAR, as a permittee, does not have standing to challenge ARRC’s title to the

                                             ROW, and thus its request for intervention should fail for lack of independent jurisdiction

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                                             over its claims. See United States v. Hays, 515 U.S. 737, 742 (1995) (recognizing that

                                             “standing is perhaps the most important of the jurisdictional doctrines.”) (internal quotations

                                             omitted).

                                                    However, even if ENSTAR had satisfied the threshold requirements, the Court has

                                             discretion to deny permissive intervention. Donnelly v. Glickman, 159 F.3d 405, 412 (9th

                                             Cir. 1998). In exercising its discretion, the district court must consider whether intervention

                                             will unduly delay the main action or will unfairly prejudice the existing parties. Id. For

                                             instance, in Arakaki v. Cayetano, the district court denied an applicant’s request

                                             for permissive intervention because it sought to interject new issues into the case beyond

                                             the scope of the plaintiffs’ claims, and unnecessarily complicate the litigation. 324 F.3d

                                             1078, 1082 (9th Cir. 2003) (unchallenged on appeal).

                                                    Additionally, if a district court does grant permissive intervention, it has discretion to

                                             limit intervention to particular issues. Dep’t of Fair Employment & Hous. v. Lucent Techs.,

                                             Inc., 642 F.3d 728, 741 (9th Cir. 2011) (citing Columbus–Am. Discovery Grp. v. Atl. Mut.

                                             Ins. Co., 974 F.2d 450, 469 (4th Cir.1992) (providing that “[w]hen granting an application

                                             for permissive intervention, a federal district court is able to impose almost any condition”)).
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                                                     In this case, ENSTAR seeks to interject an attenuated claim for restitution, which is

                                             subject to numerous defenses, and which will unnecessarily complicate the legal issues

                                             presently before the Court. As a practical matter, there is no benefit in allowing these issues

                                             to be inserted into the present case.



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                                                      However, ARRC does not object to ENSTAR being granted amicus status so that it

                                             may freely contribute to the informed resolution of those issues.

                                             III.     ARRC Does Not Oppose ENSTAR Participating as Amicus Curiae
                                                      Amicus status for ENSTAR is more appropriate here than intervention because it will

                                             allow ENSTAR to participate in resolution of the legal issues already in dispute – namely,

                                             whether the federal government validly conveyed an exclusive use easement to ARRC in

                                             the ROW adjoining FCHA, pursuant to ARTA, without unnecessarily complicating this case

                                             with issues not germane to FCHA.

                                                                                        CONCLUSION

                                                      ARRC welcomes ENSTAR’s briefing in this case as an amicus. However, it has not

                                             met the requirements for intervention, and therefore ARRC requests the Court DENY

                                             ENSTAR’s request to intervene in this matter.



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                                             CERTIFICATE OF SERVICE
                                             I hereby certify that on December 30, 2020, a copy of the
                                             foregoing document was served electronically on the following
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